FILED
CHARLOTTE, NC

FEB ! 1 2019

US DISTRICT COURT
WESTERN DISTRICT OF NG

 

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF
NORTH CAROLINA

CASE NO: 3: \AWCIL

IN RE: The real property at 226 Maple
Creek Drive, Statesville, North Carolina,
more particularly described in a deed, Deed
Book 2571, Pages 1492-1507, in the Iredell
County Register of Deeds on or about
August 10, 2018.

 

ORDER AND LIS PENDENS

 

FILE INGRANTOR INDEX UNDER:

Oscar M. Rangel Gutierrez

 

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WHEREAS, the United States of America, by and through Timothy M. Bradley, Special
Agent, Department of Homeland Security, Homeland Security Investigations, has presented an
Affidavit to the Court alleging that the above-captioned property was used or intended to be used
to facilitate federal narcotics trafficking offenses in violation of Title 21, United States Code;

WHEREAS, the Court, having reviewed the Affidavit, finds that there is probable cause to
believe that the property was used or intended to be used to facilitate such violations;

WHEREAS, upon this finding of probable cause, the property may be subject forfeiture to
the United States pursuant to 21 U.S.C. §§ 853 and 881, and the Government is entitled to record
an Order and Lis Pendens to give public notice of the Government’s forfeiture interest and
potential civil and/or criminal forfeiture claim against the property;

THEREFORE, the United States is directed forthwith to file this Order and Lis Pendens
with the appropriate state or local public depository; and ALL WHO READ THIS ORDER AND
LIS PENDENS TAKE NOTICE that the property may be subject to forfeiture to the United

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States in a present or future criminal or civil in rem action before this Court, and any person who
has a question as to this action should contact:

United States Attorney for the Western District of North Carolina
227 West Trade Street, Suite 1650

Charlotte, NC 28202
(704) 344-6222

UNITED STATES MAGISTRATE JUDGE

 

TO THE RECORDER OF THIS INSTRUMENT: MAIL ANY AND ALL RECORDED
COPIES TO THE UNITED STATES ATTORNEY FOR THE WESTERN DISTRICT OF
NORTH CAROLINA AT THE ABOVE ADDRESS.

 

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